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                                                         HONORABLE BARBARA J. ROTHSTEIN
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                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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     WSOU INVESTMENTS, LLC d/b/a BRAZOS
 9   LICENSING AND DEVELOPMENT, a                      No. 2:21-cv-00123-BJR
     Delaware limited liability company,
10                                                     ANSWER TO COUNTERCLAIMS
                                  Plaintiff,
11
            v.
12
     F5 NETWORKS, INC., a Washington
13   Corporation,
14                                 Defendant.
15

16          Plaintiff and Counter-Defendant WSOU Investments, LLC d/b/a Brazos Licensing and
17    Development (“WSOU”) by and through its counsel of record, hereby submits its Answer in
18    response to the allegations set forth in Defendant F5 Networks, Inc.’s (“F5”) Counterclaims (Dkt.
19    35) (“Counterclaims”) as follows:
20                                         GENERAL DENIAL
21          Unless specifically admitted below, WSOU denies each and every allegation in the
22    Counterclaims.
23                                              The Parties
24          1.      WSOU admits the allegations of paragraph 1 on information and belief.
25          2.      WSOU states that it is a Delaware limited liability company, and admits that its


      PLAINTIFF’S ANSWER TO COUNTERCLAIMS– 1                                      CORR CRONIN LLP
                                                                            1001 Fourth Avenue, Suite 3900
      (CASE NO. 2:21-cv-00123-BJR)                                          Seattle, Washington 98154-1051
                                                                                   Tel (206) 625-8600
                                                                                   Fax (206) 625-0900
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 1   principal place of business is located at 605 Austin Avenue, Suite 6, Waco, Texas 76701. Except

 2   as expressly admitted, WSOU denies the remaining allegations of paragraph 2.

 3                                        Jurisdiction and Venue

 4          3.      WSOU admits that the Counterclaims purport to arise under the patent laws of the

 5   United States.      WSOU admits that this Court has subject matter jurisdiction over the

 6   Counterclaims. Except as expressly admitted, WSOU denies the allegations of paragraph 3.

 7          4.        WSOU admits that it is subject to personal jurisdiction in this Court. Except as

 8   expressly admitted, WSOU denies the remaining allegations of paragraph 4.

 9          5.        WSOU admits that venue is proper in this District. Except as expressly admitted,

10   WSOU denies the remaining allegations of paragraph 5.

11                                               COUNT I

12                         Declaration of Non-Infringement of the ’000 Patent

13          6.      WSOU admits that an actual and justiciable controversy exists between F5 and

14   WSOU. Except as expressly admitted, WSOU denies the remaining allegations of paragraph 6.

15          7.      WSOU denies the allegations of paragraph 7.

16          8.        WSOU admits that F5 purports to seek a declaration of non-infringement of the

17   ’000 Patent.     Except as expressly admitted, WSOU denies the remaining allegations of

18   paragraph 8.

19                                               COUNT II

20                             Declaration of Invalidity of the ’000 Patent

21          9.      WSOU admits that an actual and justiciable controversy exists between F5 and

22   WSOU. Except as expressly admitted, WSOU denies the remaining allegations of paragraph 9.

23          10.     WSOU denies the allegations of paragraph 10.

24          11.     WSOU admits that F5 purports to seek a declaration of invalidity of the ’000

25   Patent. Except as expressly admitted, WSOU denies the remaining allegations of paragraph 11.


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 1                                            JURY DEMAND

 2           WSOU demands a jury trial on all issues raised by F5’s Counterclaims.

 3                                        PRAYER FOR RELIEF

 4          WSOU hereby incorporates by reference the foregoing paragraphs of this Answer as if

 5   fully set forth herein. WSOU denies that F5 is entitled to the relief requested in paragraphs a-g

 6   of its Prayer for Relief and denies the allegations therein.

 7                                                  CORR CRONIN LLP
 8
                                                    s/ Blake Marks-Dias
 9                                                  Blake Marks-Dias, WSBA No. 28169
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                                      Attorneys for Plaintiff
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 1                                    CERTIFICATE OF SERVICE

 2             I hereby certify that on March 19, 2021, I caused the foregoing document to be
 3    electronically filed with the Clerk of the Court using the CM/ECF system, which will send
 4
      notification of such filing to all counsel of record.
 5

 6                                                   s/ Christy A. Nelson
 7                                                   Christy A. Nelson

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